     CASE 0:15-cv-01154-ADM-SER Document 33 Filed 07/23/15 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Doe YZ,                                             Case Number: 15cv1151 (ADM/SER)

              Plaintiff,                              ORDER REGARDING
v.                                                    PLAINTIFFS’ USE
                                                      OF PSEUDONYMS
Shattuck-St. Mary’s School,

              Defendant.

Doe XY,                                             Case Number: 15cv1154 (ADM/SER)

              Plaintiff,
v.

Shattuck-St. Mary’s School,

              Defendant.

Doe AB,                                             Case Number: 15cv1155 (ADM/SER)

              Plaintiff,

v.

Shattuck-St. Mary’s School,

            Defendant.
______________________________________________________

       This matter came on for hearing before the undersigned on July 13, 2015, on Plaintiffs’

Motion to Proceed Using Pseudonyms and the Court’s Order to Show Cause. For the reasons

stated fully on the record, the Court granted the Plaintiffs’ Motion and discharged the Order to

Show Cause. (Minute Entry Dated July 13, 2015). Per the Court’s instructions, the parties

provided a revised proposed order to the Court. See (Letter to Mag. Judge Dated July 21, 2015);

see also (Joint Stipulation Regarding Pseudonym & Disclosure Dated June 16, 2015). The
      CASE 0:15-cv-01154-ADM-SER Document 33 Filed 07/23/15 Page 2 of 3



purpose of this Order is to memorialize the Court’s ruling for the convenience of the parties and

the clarity of the docket.

        Based upon all the arguments of counsel and all the records and proceedings herein, IT

IS HEREBY ORDERED that:

        1.    Plaintiffs’ Motion to Proceed Using Pseudonyms is GRANTED. This Order applies

to the following case numbers and docket numbers:

                15cv1151 – Doc. No. 23
                15cv1154 – Doc. No. 20
                15cv1155 – Doc. No. 23

        2.    The Court’s Order to Show Cause is hereby DISCHARGED. This Order applies

to the following case numbers and docket numbers:

                15cv1151 – Doc. No. 27
                15cv1154 – Doc. No. 24
                15cv1155 – Doc. No. 27

        3.    The Plaintiffs may proceed in these lawsuits under a pseudonym.

        4.    As part of their investigation into the claims and defenses in this matter, the

parties have a right to disclose Plaintiffs’ true identities. As of the date of this Order, each

external person not previously contacted in connection with the investigation of these claims,

shall execute a written assurance in the form attached as Exhibit A.



Dated: July 23, 2015


                                              s/Steven E. Rau
                                             Steven E. Rau
                                             United States Magistrate Judge




                                                2
      CASE 0:15-cv-01154-ADM-SER Document 33 Filed 07/23/15 Page 3 of 3



                           EXHIBIT A – WRITTEN ASSURANCE

                                       declares that:
       I reside at                                             in the City of
County of                             , State of                       . My telephone number is
                       .
       I understand that I am being contacted in connection with a lawsuit by former student(s)
against Shattuck-St. Mary’s School. The former student(s) is proceeding under a ‘Doe’
pseudonym for privacy reasons. As part of the investigation of the claims in this lawsuit, the
identity of the former student(s) will be disclosed to me.
       I agree to comply with the parties’ request that the identity of the former student(s) not be
disclosed and I will not divulge the identity of the former student.

       Executed on                             by
                     (Date)                             (Signature)




                                                   3
